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                             UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TENNESSEE
                                   JACKSON DIVISION

BREANA SCHENK, as next
best friend to Ev M,
Em M, and El M and the ESTATE OF
KELSEY DELYLAH SCHENK-McKEE,
                Plaintiff,

vs.                                                      No. 1:22-cv-01268-STA-jay
                                                                JURY DEMAND

PAUL A. THOMAS, GIBSON COUNTY
SHERIFF; and DANNY LEWIS, Chief Deputy
Gibson County Sheriff’s Department and TAMELA DENISE COX,
Chief Jailor/Correction Officer of the
Gibson County Sheriff’s Department and
WILLIAM HOLBROOK, Deputy/Correction Officer and
JAILER PRINCE, JAILER LITTRELL, JAILER
HILL, JAILER MORGAN, JAILER STURDIVANT,
JAILER WATSON, JAILER GILLES, JAILER
MEESE, JAILER MCARTY, JAILER YARBROUGH,
JAILER KEEL, JAILER PALMER, JAILER DANCE,
JAILER ABRAHAM, JAILER MCMINN, JAILER BAILEY,
and GIBSON COUNTY, TENNESSEE.
               Defendants.

                                             COMPLAINT

        This is an action for damages sustained by citizens of the United States against PAUL A.

THOMAS, Gibson County Sheriff; Danny Lewis, Chief Deputy, Gibson County Sheriff Department;

WILLIAM HOLBROOK, Deputy, Gibson County Sheriff’s Department and Tamela Denise Cox,

Chief Jailor/Correction Officer of the Gibson County Sheriff’s Department and Jailer Prince, Jailer

Littrell, Jailer Hill, Jailer Morgan, Jailer Sturdivant, Jailer Watson, Jailer Gilles, Jailer Meese, Jailer

McArty, Jailer Yarbrough, Jailer Keel, Jailer Palmer, Jailer Dance, Jailer Abraham, Jailer McMinn,

Jailer Bailey, Deputy/Correction Officers, Gibson County Sheriff’s Department; individually and in


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their official capacity; and GIBSON COUNTY, TENNESSEE, for acts and omissions in violating

KELSEY DELYLAH SCHENK-McKEE (Decedent) constitutional rights under the Eighth and

Fourteenth Amendments to the United States Constitution.

                                       JURISDICTION

       1.     This action is brought against Defendants pursuant to 42 U.S.C. § 1983 for

              deprivation of civil rights secured by the Eight and Fourteen Amendments to the

              United States Constitution.

       2.     Jurisdiction is found upon 28 U.S.C. §1331, §1343(a)(3) and (4), and §1367(a). This

              Court has jurisdiction over Plaintiff’s claims of violation of civil rights under 42

              U.S.C. §§ 1983.

       3.     This Court may award actual, compensatory, and punitive damages including

              reasonable attorney’s fees against Defendants Paul A. Thomas, Gibson County

              Sheriff; Danny Lewis Chief Deputy, Gibson County Sheriff’s Department; William

              Holbrook Deputy, Gibson County Sheriff’s Department and Tamela Denise Cox,

              Chief Jailor/Correction Officer, Gibson County Sheriff’s Department and Jailer

              Prince, Jailer Littrell, Jailer Hill, Jailer Morgan, Jailer Sturdivant, Jailer Watson,

              Jailer Gilles, Jailer Meese, Jailer McArty, Jailer Yarbrough, Jailer Keel, Jailer

              Palmer, Jailer Dance, Jailer Abraham, Jailer McMinn, Jailer Bailey,

              Deputy/Correction Officer, Gibson County Sheriff’s Department, pursuant to 42

              U.S.C. §1983 and 1988.

       4.     This Court may award compensatory damages and reasonable attorney’s fees against

              Defendant, Gibson County pursuant to 42 U.S. §1983 and 1988.


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     5.   Plaintiff, Breana Schenk as next best friend to Ev M, Em M and El M are citizens

          and residents of the United States, domiciled in Carroll County, Tennessee.

     6.   Plaintiffs are the sister and minor children of Kelsey Delylah Schenk-McKee.

          Plaintiffs bring this cause of action in their individual capacities as the surviving

          children of decedent, Kelsey Delylah Schenk-McKee, and as the personal

          representatives of the estate of Kelsey Delylah Schenk-McKee.

     7.   The Defendant Gibson County, Tennessee is a governmental subdivision of the State

          of Tennessee. Its agent for service of process is County Executive, Gibson County,

          Gibson County Courthouse, Suite 202, Trenton, Tennessee.

     8.   The Defendants Paul Thomas, Sheriff, Danny Lewis, Chief Deputy, Gibson County

          Sheriff’s Department and William Holbrook, Deputy, Gibson County Sheriff’s

          Department and Tamela Denise Cox, Chief Jailor/Correction Officer, Gibson County

          Sheriff’s Department and Jailer Prince, Jailer Littrell, Jailer Hill, Jailer Morgan, Jailer

          Sturdivant, Jailer Watson, Jailer Gilles, Jailer Meese, Jailer McArty, Jailer

          Yarbrough, Jailer Keel, Jailer Palmer, Jailer Dance, Jailer Abraham, Jailer McMinn,

          Jailer Bailey, Deputy/Correction Officer, Gibson County Sheriff’s Department were

          at all times material hereto employed as correctional officers of the Gibson County

          Correctional Complex. All Defendant’s listed herein are sued in their individual and

          official capacities as correctional officers, and as employee/agents of the Gibson

          County Sheriff’s Department. All Defendants may be served at Gibson County

          Correctional Complex, 401 N. South College St., Trenton, TN.

     9.   PAUL A. THOMAS is a citizen of Gibson County, Tennessee, and was at all times


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           herein the Sheriff of Gibson County, Tennessee, and was in charge of the operations

           of the Gibson County Correctional Complex. He is being sued in his individual and

           official capacity.

     10.   Defendants Danny Lewis, Deputy, Gibson County Sheriff’s Department and Tamela

           Denise Cox, Chief Jailor, Gibson County Sheriff’s Department and William

           Holbrook, Gibson County Sheriff’s Department were at all times material hereto

           employed as guards in the jail of the Gibson County Correctional Complex. Said

           Defendants are sued in their individual and in their official capacity.

     11.   Each and every act and/or omission by the Defendants were performed by virtue of

           and under their authority as Sheriff/correctional officers/deputies of Gibson County,

           and under the color and pretense of the statutes, ordinances, regulations, customs, and

           usages of the State of Tennessee.

                            STATEMENT OF THE FACTS

     12.   On December 4, 2021, Kelsey Delylah Schenk-McKee (“Decedent”) was

           incarcerated in the Gibson County Correctional Complex for misdemeanor charges

           of Public Intoxication and Criminal Trespass, which ran concurrent with Carroll

           County misdemeanor charges.

     13.   Various individual family members and the attorney of record for Ms. Schenk-

           McKee talked with the Sheriff and/or his Deputies and advised them of Ms. Schenk-

           McKee medical condition and the need for medical intervention on her behalf. The

           family members were assured that proper measures would be taken by the Gibson

           County Sheriff Department for Ms. Schenk-McKee medical condition, pursuant to


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           the policies of the Gibson County Sheriff Department.

     14.   Upon information and belief, Ms. Schenk-McKee began to suffer from a number of

           physical symptoms on December 3, 2021, associated with liver failure, including but

           not limited to toxic levels of Fentanyl and Methamphetamine. Ms. Schenk-McKee

           presented to the Gibson County Correctional Complex request for medical treatment

           prior to and throughout the day of December 3, 2021.

     15.   On December 4, 2021, Ms. Schenk-McKee condition became severe, and she began

           to experience increased pain and symptoms associated with toxic levels of Fentanyl

           and Methamphetamine. Ms. Schenk-McKee complained to the jail guards/correction

           officers, and was ignored. Upon information and belief, Gibson County Correctional

           Officers removed Ms. Schenk-McKee to a holding cell to die alone and without aid

           in response to Decedent’s repeated request for medical treatment.

     16.   All day on December 4, 2020, Ms. Schenk-McKee continued to suffer. Due to the

           severity of her symptoms, Ms. Schenk-McKee made numerous requests to

           correctional officers/deputies and the jail personnel for treatment by a physician, all

           of which were denied. Upon information and belief, Gibson County Correctional

           Officers/Deputies removed Ms. Schenk-McKee to a holding cell to die alone and

           without aid in response to Decedent’s repeated request for medical treatment.

     17.   Ms. Schenk-McKee was found dead in her cell on December 4, 2021.

     18.   The repeated notices of Plaintiff’s existing condition on admission to the

           Correctional Complex, presented an urgent need for medical care. Plaintiff’s medical

           condition after admission to the Gibson County Correctional Complex, presented an


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           urgent need for medical care. Plaintiff’s inability to consume food and drink

           presented an urgent need for medical treatment. Plaintiff’s physical condition,

           bruised and abrasions brought about from the violent seizures, presented an urgent

           need for medical treatment. From all of which, Plaintiff suffered extreme mental

           cruelty, severe pain and anguish and eventually a slow and painful death. The

           medical examinations and autopsy confirmed these facts.

     19.   Sheriff Paul Thomas, Danny Lewis, Chief Deputy, Gibson County Sheriff’s

           Department and William Holbrook, Deputy, Gibson County Sheriff’s Department

           and Tamela Denise Cox, Chief Jailor/Correction Officer, Gibson County Sheriff’s

           Department and Jailer Prince, Jailer Littrell, Jailer Hill, Jailer Morgan, Jailer

           Sturdivant, Jailer Watson, Jailer Gilles, Jailer Meese, Jailer McArty, Jailer

           Yarbrough, Jailer Keel, Jailer Palmer, Jailer Dance, Jailer Abraham, Jailer McMinn,

           Jailer Bailey, Deputy/Correction Officer, Gibson County Sheriff’s Department, with

           knowledge of Decedent’s urgent need for medical attention and treatment, placed and

           kept Decedent incommunicado in her cell despite her repeated requests for treatment

           for her serious medical condition, all leading to her untimely death.

     20.   The wrongful acts and/or omissions of Danny Lewis, Chief Deputy, Gibson County

           Sheriff’s Department and William Holbrook, Deputy, Gibson County Sheriff’s

           Department and Tamela Denise Cox, Chief Jailor/Correction Officer, Gibson County

           Sheriff’s Department and Jailer Prince, Jailer Littrell, Jailer Hill, Jailer Morgan, Jailer

           Sturdivant, Jailer Watson, Jailer Gilles, Jailer Meese, Jailer McArty, Jailer

           Yarbrough, Jailer Keel, Jailer Palmer, Jailer Dance, Jailer Abraham, Jailer McMinn,


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           Jailer Bailey, Deputy/Correction Officer, Gibson County Sheriff’s Department, as

           stated herein, constitute reckless disregard and deliberate indifference to Decedent’s

           serious medical condition and safety in violation of Decedent’s right to due process

           of law, and to be free from cruel and unusual punishment pursuant to the Eighth and

           Fourteenth Amendments of the United States Constitution.

     21.   Defendant Gibson County’s existing policy and procedures, and/or failure to train

           and/or supervise its correctional officers and prison infirmary staff constitutes

           deliberate indifference to Decedent’s serious medical conditions and safety, and was

           the cause of violations of Decedent’s right to due process of law, and to be free from

           cruel and unusual treatment pursuant to the Eight and Fourteenth Amendments of the

           United States Constitution.

     22.   The above-described deprivations of Decedent’s constitutional rights are a direct and

           proximate result of the acts, omissions, policies, and customs of Defendant Gibson

           County. Defendant knew or should have known that its policies, custom, and

           conduct violated clearly established constitutional rights that would have been

           apparent to reasonable persons.

     23.   Defendants have engaged and continue to engage in a pattern or practice of failing

           to protect inmates in the Gibson County Jail/Correction Complex from undue risk of

           harm by (inter alia), failing to provide adequate medical and mental health care,

           failing to provide adequate food and shelter; failing to provide adequate classification

           and supervision of inmates.

     24.   Defendants have been aware of the unlawful conditions alleged in the foregoing


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             paragraphs for a substantial period of time and failed to adequately address these

             conditions, despite their knowledge of the deficiencies.

      25.    The above-described wrongful acts and omissions of individual Defendants that

             results in deprivations of Decedent’s constitutional rights are the direct result of

             Defendant’s acts and omissions.

      26.    As a direct and proximate result of the above-described wrongful acts and/or

             omissions by each Defendant named herein, Decedent suffered great physical and

             mental pain, shock, agony, and death, for all of which the Defendant is liable.

      27.    The acts and omissions alleged in the foregoing paragraphs violate the rights,

             privileges or immunities secured or protected by the Eighth and Fourteenth

             Amendments to the Constitution of the United States of person confined in the

             Gibson County Jail/Correction Complex.

      28.    Unless restrained by this Court, Defendants will continue to engage in the conduct

             and practices set forth in paragraph 22 and 23 that deprives person confined in the

             Gibson County Jail/Correction Complex of their rights, privileges, or immunities

             secured or protected by the Eight and Fourteenth Amendments to the Constitution of

             the United States, and cause them irreparable harm.

WHEREFORE, Plaintiff prays for the following relief:

      1.     Service of process be issued as to the Defendants;

      2.     Compensatory damages against Defendant Gibson County and other named

             defendants in the amount to be determined by the jury;

      3.     Plaintiff prays for judgment against Defendants jointly and severally, for


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          compensatory damages in the amount of One Million Dollars ($1,000,000.00) and

          for punitive damages in the amount of Five Million Dollars ($5,000,000.00), plus

          cost of this action, attorney’s fees, and such other relief as the Court deems fair and

          appropriate under the circumstances.

     4.   Punitive and compensatory damages against Defendants, Correctional Officers in an

          amount to be determined by the jury.

     5.   Reasonable attorney’s fees, costs, and expenses pursuant to 42 U.S.C.§ 1988.

     6.   A jury trial pursuant to Rule 38 of the Fed. R. Civ. P.,: and

     7.   For an Order permanently enjoining Defendants, their officers, agents, employees,

          subordinates, successors in office, and all those acting in concert or participation with

          them from continuing the acts, omissions, and practices set forth in the foregoing

          paragraphs, and that this Court require Defendants to take such actions as will ensure

          lawful conditions of confinement are afforded to inmates at the Gibson County Jail.

     8.   Such other damages and general relief to which Plaintiff may be entitled.


                                                  Respectfully submitted,


                                                  /s/Robert T. Keeton III
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